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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -   -    -    -    -   -   -   -    -   -    -    -   -          X

 UNITED STATES OF AMERICA                                                INFORMATION

                        - v. -                                           22 Cr .

 JAMES ZHONG ,

                        Defendant .

 -   -    -    -    -   -   -   -    -   -    -    -   -         X

                                                            COUNT ONE                                     606
                                                           (Wire F raud)

          The United States Attorney charges:

          1.            In or about September 2012 ,                       in the Middle District of

Georgia and elsewhere , JAMES ZHONG , the defendant , having devised

and intending to devise a scheme and artifice to defraud , and for

obtaining money and property by means                                         of    fa l se   and fraudulent

pretenses ,              representations,                   and promises,          transmitted and caused

to       be        transmitted                by       means    of    wire,     radio ,       and    television

communication in interstate and foreign commerce , writings , signs,

signals , pictures ,                         and sounds for t he purpose of executing such

scheme and artifice,                              to wit ,     ZHONG ,   through his transmission of

interstate and international wire communications ,                                              engaged in a

scheme and artifice to defraud the Silk Road dark- web internet

marketplace of money and property by (a) creating a string of Silk

Road          accounts              in   a        manner     designed      to      conceal     his    identity;

(b) triggering multiple transactions in rapid succession in order
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to trick Silk Road into releasing Bitcoin from Silk Road ' s Bitcoin-

based payment         system i nto      these        accounts ;         and    (c)    transferring

this      Bitcoin     into   a   variety    of       separate       addresses              also    under

ZHONG ' s control ,      all in a manner designed to prevent detection ,

conceal his identity and ownership ,                      and obfuscate the Bitcoin ' s

source .

            (Title 18 , United States Code , Sections 1343 and 2 . )

                                 FORFEITURE ALLEGATION

       2.      As a result of committing the offense charged in Count

One of this Information , JAMES ZHONG , the defendant , shall forfeit

to the United States ,           pursuant to Title 18 ,                  United States Code ,

Section      981(a) (1) (C)      and Title      28 ,      United States Code ,                Section

2461(c) , any and all property , real or personal , that constitutes

or is derived from proceeds traceable to the commission of the

offense charged in Count One of this                        Information ,            includ i ng all

right ,     title ,   and    interest      of       the   defendant           in     the    following

specific       property :        the   defendant ' s             80 %     interest           in     RE&D

Investments , LLC , EIN : 84 - 1727241 .

                             Substitute Asset Provision

       3.      If any of the above - described forfeitable property ,                                 as

a result of any act or omission of the defendant :

               a.     Cannot      be   located            upon     the        exercise        of     due

diligence ;




                                                2
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          b.      Has been transferred or sold to, or deposited with ,

a third person;

          c.      Has   been placed beyond       the    jurisdiction      of   the

Court;

          d.      Has been substantially diminished in value; or

          e.      Has   been   commingled    with      other   property    which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code,   Section    8 53 {p)   and Title   28,    United States      Code ,

Section 2461(c) to seek forfeiture of any other property of said

defendant up to the value of the forfeitable property.

   (Title 18, United States Code , Section 981; Title 21, United
   States Code, Section 853; and Title 28, United States Code,
                          Section 2461 .)




                                           DAMIAN WILLIAMS
                                           United States Attorney




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              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                              -    v.   -

                         JAMES ZHONG,

                          Defendant .


                          INFORMATION

                       22 Cr.

                 (18   u.s . c .   §§       1343 , 2 . )

                    DAMIAN WILLIAMS
                United States Attorney .
